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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

THE ESTATE OF MALCOLM J.
BRYANT,
     Plaintiff
                                                         Civil Action No. ELH-19-384
       v.

BALTIMORE POLICE
DEPARTMENT, et al.
     Defendants.

                                              ORDER

       The Court has reviewed plaintiff’s “Motion To Set A Date Certain For Compliance With

Plaintiff’s Subpoena To The Baltimore City State’s Attorney’s Office” (ECF 63) and the

defendant’s response (ECF 66). It is, this 12th day of June, 2020 by the United States District

Court for the District of Maryland, ORDERED:

       1) The Motion (ECF 63) is GRANTED;

       2) Defendant shall produce non-privileged documents by August 10, 2020, and a privilege

             log by September 11, 2020; and

       3) In view of the difficulties related to scheduling because of the COVID-19 pandemic,

             the Scheduling Order (ECF 56) is hereby modified as follows:

                                         I. DEADLINES

                July 1, 2020:            Moving for joinder of additional parties and
                                         amendment of pleadings

                October 23, 2020:        Plaintiff’s Rule 26(a)(2) disclosures

                November 6, 2020:        Defendant’s Rule 26(a)(2) disclosures

                December 4, 2020:        Rule 26(e) supplementation of disclosure and
                                         responses
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       December 11, 2020:       Discovery deadline; submission of status report

       January 4, 2021:         Requests for admission

       January 22, 2021:        Dispositive pretrial motion deadline

       February 22, 2021:       Opposition/Cross Motion (if any)


4) The parties shall submit a status report, jointly if possible, by August 20, 2020,

   updating the Court on the status of discovery.




                                                                   /s/
                                                    Ellen Lipton Hollander
                                                    United States District Judge




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